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UNITED srArEs DISTRICT coURr,

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Walter Wells, Aaron Wells, C|_EF{K U 3 D|STR|CT COBJRT

Jean Allen and Tionnia Greenwells §
Plaintiff § '1’13 j
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Ban€ofAmerica, NA, ig M&¢ ) NOW nnf/’z &')@ Up
Bank of Arnerica Unkno Agents l- M£gmvo£y{( g
Applebrook Realty,S eguard Upknown Agents, )
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VERIFIED COMFLAINT
NOW COMES Plaintiff, Walter Wells, and does hereby submit his Veritied Complaint
against Defendant BANK OF AMERlCA for damages suffered by plaintiff involving the subject €,,

property located at 10711 S. Sangarnon, Chicago, in COOK COUNTY, lllinois. In support

thereof, Plaintiff avers as follows:

PARTIES
l. Plaintiff Walter Wells Was at all times relevant hereto a rightful tenant of the property
located at 107 ll S. Sangamon in Chicago, Cook County, lllinois (hereinafter “the property”).'
3. Defendant BANK OF AMERICA, N.A., is a foreign national-owned national banking
association registered to do business upon the shores ofNorth Arnerica.
4. Defendants BANK OF AMERICA UNKNOWN AGENTS 1-100 are individuals
unknown to Plaintiff who, upon information and belief, Defendant BANK OF AM.ER[CA hired
to perform actions to “secure” Plaintiff’s property as private contractors d
5. Defendant APPLEBROOK REALTY is a licensed realtor doing business in the state of
lllinois.

6. Defendant SAFEGUARD SERVICES are unknown agents/contractors hired by

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Defendant i§ank of America.

FACTUAL ALLEGATIONS
l. ln lurie ot`QOlO, Plaintit`l` Walter Wells began living in the property
2. ln 2012, l)efendant Bank ofAmerica filed an eviction action against the former owner ol`the
property Plaintift` Wells Was never served in said action
3. Plaintit`t` Wells filed a motion to quash and was not notified of any further proceedings by
Plaintil`t` Bank of /\merica.
4. ()n or about .lune 5, ZOlS, Det`endants Bank ot` America Agents l-l()O did come to the
property and change the locks
5. ()n or about lurie 6, 2()15, l’laintit`f discovered the damage to his property, replaced the locks
and filed a motion with the court to stop the encroachment on his property
6. On or about June 7- ilune lO, 2015, Unknown Defendants Bank ot`Arnerica Agents l-l()O
returned to the property, did gain entry and break the locks again Defendants took four brand
new car batteries from the residence and a canon ink-jet printer.
7. Defendants opened up drawers, dumped out containers, and caused Plaintift"s belongings to
be carelessly and recklessly strewn across the iloor, couches and stairs
8. On .lune l(), 2015, Plaintit`t`Wells returned home to find his home in disrepair and his
belongings missing A note was left informing Plaintifl` that he had 30 days to claim his
belongings He filed a police report for the break-in, thet`t, and damages suffered
9. When police arrivedPlaintit`f was subsequently taken into custody for unrelated warrants
which were mistakenly attributed to his name, which were not him As a result. Plaintit`f was
held in (`ook.y l<_ane` and Will (,`ounty for nine days
lO. On or about lune l l».lune l8, 20l5, Defendants did return to the property, forcibly enter. and

did dispose ct;)n'ipletely ot`Plaintifi`s belongings in the property 'l`his includes two vehicles that

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Plaintit`fstored in the driveway

l l. Upon investigation3 Plaintit`t`wz-is told by "Sharon"" at Det`endant Applebrook realty that she
witnessed agents hired by l)et`endant Bank ot`Anierica remove the cars from the property

12. Upon further investigatit;>n_ Plaintit`t` was told by a customer service representative Lakeeta
from Sat`eguard services that they were retained by l)et`endant Bank oi`/\merica and that they did
indeed receive an order l`rom B;ink o t` A merica to "trasli” the property upon it being designated
as vacant by another agent ot` l"§ank of Amcrica,

13. Defendant Sal`eguard relayed to l)laintit`t`that they did not take his cars because Det`endant
Banl~: ofAnierica did not pay them t`or the storage ot` the vehicles t`or 30 days

14, Plaintit`t`, upon learning ot the loss o,l` his property contacted Dei`endant Safeguard and
demanded the return ot`his property and was told by Safeguard customer service agent Lakeeta
that there was no way for them to restore his property to him, because they had “trashed” all ot`
his belongings

15. The value of belongings taken and/or destroyed by Defendants is §§

(,`()UNT I. (’i()t\/lt\/ION l,AW T()R'I` (.)F 'l`RESPASS TO CHATTELS
16. Plaintiff re~ineoiporates and restates by reference all preceding paragraphs as if set forth fully
herein
17. Plaintiff lawfully secured his property and belongings in his property
18. Upon information and belicl`, unknown agents7 with the pemiissive authority ot` Det`cndant
Bank of America, did unlawfully trespass to gain entry to the property and did remove Plaintift`s
belongings troni his care control` and possession
19. Det`endant Bank of Ainerica is included in this count under its respondeat superior liability

20. Det`endants have not taken any n"iez,isures to restore to l)laintit`t` the possession ofl'iis

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belongings nor by presenting the value of the same to him in an effort to make him whole

Zl. Defendants are liable for actual damages suffered by Plaintiffas a result oftheir actions in
the amount ot`$_*____

22, Defendants are liable for the tort ol`trcspass to chattels

Wl~lEREl"ORE, Plaintiff respectfully moves this llr_)norable (`ourt to enter apidgment in favor of
Plaintiff and against Det`endant for the relief requested herein; and to lind Defendant liable for

damages as alleged herein; and for any other such relief as the court finds just and equitable

COUNT II. UNJUS"I` lilNRICHMEN'l`
23. Plaintitt`re-incoiporates and restates by reference all preceding paragraphs as if set forth fully
herein
24. Defendant Bank ot`Arnerica is included in this count under its respondeat superior liability
25. Plaintifflawfully secured his property and belongings in his property
26. Upon information and belief, Defendant Bank ot`America’s unknown agents, with the
permissive authority of Defendant Bank of/-\merica, did unlawfully trespass to gain entry to the
property and proceed to remove Plaintit`t"s belongings t`rom his care, control, and possession
27, Det`endants Bank of Amcrica, and BANK OF Al\/IF,RICA UNKNOWN AGENTS l~lOO,
SAFEGUARD SER\/'ICES and APPLl;`BROOK REAL'I`Y have been enriched by the taking of
Plaiiitit`Fs possessions
28 Within several days of the destruction of Plainti'ft`s property, Defendant Applebrook Realty
listed pictures ofthe interior of the property "FOR SA Ll;" in online real estate postings.
29 Said enrichment took place at the expense of Plaintit`f.
30. 'l`he enrichment of I:)efendants was unjustj because there was no lawful purpose or other
reason to detach Plaintiff from his possessions

3 l. Defendants Bank ofAmerica and ,B/\NK Ob AMERICA UNl<NO\/VN AGENTS l~lOO,

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SAFEGUARD SER\/l(:,`li$ and APPLEBROOK RliAL'l`Y have no valid defenses to its actions
32. l)et`endants have not taken any measures to restore to l’lairitit`t` the possession oi` his
belongings nor by presenting the value ot` the same to him in an effort to make him whole.

33. Defendants have unjustly enriched themselves and are liable for damages sut`tered by
l’laintit`t`.

WHEREFORE, Plaintit`f respectfully moves this l~lonorable Court to enter a_iudgment in favor
of Plaintit`f and against Defendant for the relief requested herein; and to find Del`endant liable for

damages as alleged herein; and for any other such relief as the court hnds just and equitable

C()UN'I` Il`I. C(')N‘v'ERSl()N
34 Plaintil`fre~ineorporates and restates by reference all preceding paragraphs as it`set forth fully
herein.
35. Defendant Banl< of America is included in this count under its respondeat superior liability
36. Plaintif`f lawfully secured his property and belongings in his property
37. Upon information and beliet`, Del`endants BANK OF Al\/lERlCA UNKNOWN AGENTS,
SAFEGUARD SERVICES and APPl,,EBROOK REALTY l-lOO, with the permissive authority
of Det`endant Banl< ot`Arneriea, did unlawfully trespass to gain entry to the property and proceed
to remove Plaintiff’s belongings from his care, eontrol, and possession without lawful
justification or authorization from Plaintit`t` to do so.
38. Defendants Banl< ofAineriea, and BANK ()F Al\/IERICA, LlNI<N()WN AGENTS l-lOO,
SAFEGUARD SER\/ICES and /\PPLEBROOK REAIV,,TY summarily disposed ol` l’laintit`t`s
property rights
39. Upon learning of the losses he sul`t`ered, Plaintit`t" made a demand upon Dei"endant Sat`eguard
to have his belongings restored to him and was informed that they did not have his belongingsj as

they had "`trashed” them all and that it was in'ipossible t`or them to do so. This last demand was

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made on .lunc 24, 2015 over the phone to Safeguard agent L;il<eet:r

40. Plaintiff had clear legal ownership and right to immediate possession ofhis belongings which
was absolutc, unconditional and not dependent upon the performance of some act at the time of
the conversion

41. Plaintiffsuffered damages resulting from the conversion in the amount ofthe value of his
belongings lost.

42. Defendants are liable for the damages suffered by Plaintifl`as a result of their unlawful
conversion

WHEREFORE, Plaintit`f respectfully moves this llonorable (jourt to enter a judgment in favor
of Plaintiff and against Defendants for the relief requested herein; and to find Defcndants liable

for damages as alleged herein; and for any other such relief as the court frndsjust and equitable

COUNT I,V. C()NTRIBU'I`()RY NEGLIGENCE
43. Plaintiff re~incorporates and restates by reference all preceding paragraphs as if set forth fully
herein
44. Defendant Bank ofAmerica is included in this count under its respondech Superz`or liability
45. PlaintiffWells has the current possession, control and lawful authority to enter and exit,
monitor, and otherwise have and hold the property unless otherwise decreed or decided by the
parties or a court of competent jurisdiction
46. The property has been broken into by agents and/or subcontractors of Defendants, taking
property, furniture, electronics and other valuables belonging to l’laintiff from the property
47. Defendants have recklessly, wantonly, and without due regard for the care and concern due a
human being with all his respective rights and interests as have attached to the Property. violated
the same as if no such duty existed

48. Defendants BANK Of" Al\/lERlCA and BANK ()F Al\/ll:RlCA leilNl<N()Wl\l AGENTS l»

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lOO, SAi~`tiGU/XRD SER\/lCES and APPLEBROOK Rl:`Al.’l"Y' have acted unreasonably with
respect to the property rights ofPlaintit`f.

49, Det`endants clearly ascertained that the proper was not vacant, and disregarded that t`act
causing Plaintit`f to be harmed by the loss ot`property, damage to his property, and loss of access
to his horne

50. Defendants have the responsibility to act and proceed under the principles ol` l`aimess,
equality, and justice in any actions dealing with the property rights ot` other individuals

5 lt Det`endants should be deterred from taking similar actions agai ist those similarly situated
52. De `cndants should be penalized in a manner commensi.irate with its misconduct and
proportional to their respective hnancial worth and ability to pay.

53. Det`endants’ actions have been counter-productivej destructive malicious, and have injured
Mr. Wells' interests and the security of the property

54. Plaintiff has taken no actions which could be construed to be having contributed to the

negligence of Det`endants, and has suffered actual damages as a result ofthe actions of

Defendants in the amount of$ 50 il ( )Qi 2.% ".]:(\ 'Add§i~£<> \(\ ,D\V\O "\ 5 "Q` "€,"\_q+e
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55. Plaintit`f attempted to communicate with Det`endants prior to the destruction ofhis property

but was not assisted in any manner by Defendants.

56. Det"endants are liable for the violations suffered by Plaintit`t` and the injuries suffered as a

result of their actions
WHEREFORE, Plaintiff Walter Wells respectfully moves this l{onoral:)ie ("ourt to enter a
judgment finding Det`endants liable for contributory negligence as alleged herein. and finding

c

l,`)ei`endants liable t`or the damages alleged herein by Plaintii"t" and t`oiv any and such other relief as

this court deemsjust and equitable

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VERlFlCATION BY CERTIFICAT|ON

Under penalties as provided by law pursuant to §l~ l 09 ofthe lllinois Code of Civil Procedure,
the undersigned certifies that the statements set forth in this instrument are true and correct,
except as to matters therein stated to be on information and belief and as to such matters the
undersigned certifies as aforesaid that he verily believes the same to be true.

Respecti`ully Submitted,

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Wz'ltet Wells

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l y ommission Expires Decen`i'tf:‘€lj, 2017

JURY DEMAND: Plaintiff Demands a Trial by Jury

